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                             U.S. DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

KENNETH NIXON,

               Plaintiff,                    Case No. 5:23-cv-11547-JEL-EAS
                                             Judge Judith E. Levy
v.                                           Magistrate Judge Elizabeth A. Stafford

CITY OF DETROIT, DETECTIVE
MOISES JIMENEZ, COMMANDER
JAMES TOLBERT, DETECTIVE
KURTISS STAPLES, SGT. EDDIE
CROXTON, OFFICER ALMA
HUGHES-GRUBBS, AND OTHER
AS-OF-YET UNKNOWN
EMPLOYEES OF THE CITY OF
DETROIT,

          Defendants.
_________________________________________________________________/

                   APPEARANCE OF JULIE H. HURWITZ AS
                        COUNSEL FOR PLAINTIFF

         Please enter the Appearance of Julie H. Hurwitz of Goodman Hurwitz &

James, P.C., as counsel on behalf of Plaintiff, KENNETH NIXON, in the above

captioned matter.

                                 Goodman Hurwitz & James, P.C.

                            By: /s/ Julie H. Hurwitz
                                Julie H. Hurwitz P34720
                                1394 E. Jefferson Avenue
                                Detroit, MI 48207
                                313.567.6170; Fax 313.251-6068
Dated: June 28, 2023            jhurwitz@goodmanhurwitz.com
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that on this day, June 28, 2023, she filed a copy of

the Appearance of Julie H. Hurwitz as Counsel for Plaintiff with the Court

utilizing the Electronic Filing System which will serve copies of same upon counsel

of record.

                                   /s/ Laurel O. Seale
                                   Legal Assistant
                                   Goodman Hurwitz & James, P.C.




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